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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA

                                       Criminal No. 13-495 (E~)
           v.
                                       18 u.s.c. §§ 1014, 1341, 1343, 1344,
                                       1349, 152(1)  153(2)
                                                      I      153(3)
                                                                I     and§ 2
                                                                         1


GIUSEPPE GIUDICE,                      26 u.s.c. § 7203
  a/k/a "Joe Giudice," and
TERESA GIUDICE



                      FIRST SUPERSEDING INDICTMENT

     The Grand Jury in and for the District of New Jersey, sitting

at Newark, charges:

                              COUNT 1
          (Conspiracy to Commit Mail Fraud and Wire Fraud)

                              Introduction

     1.   At all times relevant to Count 1 of this First Superseding

Indictment:

           A.   Defendant GIUSEPPE GIUDICE, a/k/a "Joe Giudice,"

(hereinafter "defendant GIUSEPPE GIUDICE") was a resident of Morris

County, New Jersey.

           B.   Defendant TERESA GIUDICE (hereinafter "defendant

TERESA GIUDICE") was a resident of Morris County, New Jersey and was

the wife of defendant GIUSEPPE GIUDICE.

           C.   Defendant GIUSEPPE GIUDICE was self-employed and

received income.
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              D.   From in or about January 2001 through in or about May

2008, defendant TERESA GIUDICE was unemployed and received no income.

              E.   The following were financial institutions, within the

meaning of Title 18, United States Code, Section 20, whose deposits

were insured by the Federal Deposit Insurance Corporation ("FDIC")

and who were engaged in the business of making mortgage and other

loans to the public (collectively, the "Financial Institution

Lenders") :

                    i.    The Park Avenue Bank, with offices in New York
                          ("Park Avenue") ;

                    ii.   Wachovia, now Wells Fargo, with offices in New
                          Jersey ("Wachovia");

                    iii. Sterling Bank, with offices in New Jersey
                         ("Sterling") ;

                    iv.   Community Bank of Bergen County, with offices
                          in New Jersey ("CBBC"); and

                    v.    Washington Mutual Bank, with offices in New
                          Jersey ( "WaMu") .

              F.   The following entities were engaged in the business

of making mortgage and other loans to the public (collectively, the

"Non-Financial Institution Lenders").

                    i.    HomeComings Financial Network, Inc., with
                          offices in New Jersey and Minnesota
                          ("HomeComings") ;

                    ii.   Eastern American Mortgage Company, with offices
                          in New Jersey ("Eastern American");

                    iii. Alterna Mortgage Company, with offices in New
                         Jersey ("Alterna");


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The Financial Institution and Non-Financial Institution Lenders,

when discussed collectively, are referred to as the "Lenders.n

                             The Conspiracy

     2.   From in or about September 2001 through in or about

September 2008, in Morris and Passaic Counties, in the District of

New Jersey and elsewhere, defendants

                           GIUSEPPE GIUDICE,
                       a/k/a "Joe Giudice,n and
                            TERESA GIUDICE

did knowingly and intentionally conspire and agree with each other

and others to devise a scheme and artifice to defraud the Lenders

and to obtain money from the Lenders by means of materially false

and fraudulent pretenses, representations, and promisesi and, for

the purpose of executing such scheme and artifice, to use the United

States mails or private or commercial interstate carriers and wire

communications in interstate commerce, contrary to Title 18, United

States Code, Sections 1341 and 1343.

                       Object of the Conspiracy

     3.   The object of the conspiracy was for defendants GIUSEPPE

GIUDICE and TERESA GIUDICE to submit or cause to be submitted

materially false and fraudulent mortgage and other loan applications

and supporting documents to the Lenders in order to fraudulently

cause the Lenders to fund mortgage and other loans to the defendants,

including through the use of the U.S. Mail or private or commercial

interstate carrier and wire communications in interstate commerce.
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                   Manner and Means of the Conspiracy

        4.   It was a part of the conspiracy that defendants GIUSEPPE

GIUDICE and TERESA GIUDICE would falsely represent on loan

applications and supporting documents submitted to the Lenders that

they were employed and/or receiving substantial salaries when,               in

fact, they were either not employed or not receiving such salaries.

        5.   It was further part of the scheme and artifice to defraud

that defendants GIUSEPPE GIUDICE and TERESA GIUDICE would create,

or cause to be created, and then submit or cause to be submitted to

the Lenders false and fraudulent federal personal income tax returns,

IRS Forms W-2, paystubs, and other documents that purported to

provide evidence of defendants' employment and salaries.

                           Fraudulent Activity

        6.   In furtherance of the scheme and artifice to defraud and

to effect the unlawful object thereof, defendants GIUSEPPE GIUDICE

and TERESA GIUDICE committed and caused to be committed the following

acts:

             A.   In or about September 2001, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE caused to be prepared a loan application,

which they then caused to be submitted to HomeComings.            The loan

application falsely stated that defendant TERESA GIUDICE was

employed as an Executive Assistant by Modern Era Investment Corp.

with a monthly salary of $3,750 and that she had been so employed

for four years.      In support of the loan application, defendants
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GIUSEPPE GIUDICE and TERESA GIUDICE created, caused to be created,

and caused to be submitted to HomeComings false and fraudulent Forms

W-2 and paystubs purportedly issued by Modern Era Investment Corp.

In further support of the loan application, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE caused documents to be sent via the U.S.

Mail or private or commercial interstate carrier to HomeComings and

other entities and individuals involved with the closing of the loan.

In fact, defendant TERESA GIUDICE was not employed by Modern Era

Investment Corp., but was unemployed.        Based on the false and

fraudulent loan application and supporting documentation, on or

about December 21, 2001, defendant TERESA GIUDICE received a mortgage

loan from HomeComings in the approximate amount of $121,500.

           B.    In or about June 2004, defendants GIUSEPPE GIUDICE and

TERESA GIUDICE caused to be prepared a loan application, which they

then caused to be submitted to Eastern American.           The loan

application falsely stated that defendant TERESA GIUDICE was a

self-employed owner of G&G Stucco with a monthly salary of $14,750

and that she had been so employed for seven years.      In further support

of the loan application, defendants GIUSEPPE GIUDICE and TERESA

GIUDICE caused documents to be sent via the U.S. Mail or private or

commercial interstate carrier to Eastern American and other entities

and individuals involved with the closing of the loan.            In fact,

defendant TERESA GIUDICE was not employed by G&G Stucco, but was

unemployed.     Based on the false and fraudulent loan application and
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supporting documentation, on or about June 30, 2004, defendant TERESA

GIUDICE received a mortgage loan from Eastern American in the

approximate amount of $20,200, which was funded by interstate wire

transfer from outside New Jersey to New Jersey.

           C.   In or about March 2005, defendants GIUSEPPE GIUDICE

and TERESA GIUDICE caused to be prepared two loan applications, which

they then caused to be submitted to Alterna.        The loan applications

falsely stated that defendant TERESA GIUDICE was a self-employed

owner of G&G Stucco with a monthly salary of $12,100 and that she

had been so employed for six years.       In further support of the loan

applications, defendants GIUSEPPE GIUDICE and TERESA GIUDICE caused

documents to be sent via the U.S. Mail or private or commercial

interstate carrier to Alterna and other entities and individuals

involved with the closing of the loan.         In fact, defendant TERESA

GIUDICE was unemployed.     Based on the false and fraudulent loan

applications and supporting documentation, on or about March 18,

2005, defendant TERESA GIUDICE received mortgage loans from Alterna

in the approximate amount of $141,550, which were funded by

interstate wire transfer from outside New Jersey to New Jersey.

          D.    In or about July 2005, defendants GIUSEPPE GIUDICE and

TERESA GIUDICE caused to be prepared a loan application, which they

then caused to be submitted to WaMu.       The loan application falsely

stated that defendant TERESA GIUDICE was employed as a Realtor with

Cresthill Realty with a monthly salary of $15,000 and that she had
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been so employed for two years and four months.        In further support

of the loan application, defendants GIUSEPPE GIUDICE and TERESA

GIUDICE caused documents to be sent via the U.S. Mail or private or

commercial interstate carrier to WaMu and other entities and

individuals involved with the closing of the loan.           In fact,

defendant TERESA GIUDICE was unemployed.         Based on the false and

fraudulent loan application and supporting documentation, on or

about July 29, 2005, defendant TERESA GIUDICE received a mortgage

loan from WaMu in the approximate amount of $361,250.

           E.   In or about November 2005, defendants GIUSEPPE GIUDICE

and TERESA GIUDICE caused to be prepared a loan application, which

they then caused to be submitted to Park Avenue.         In support of the

loan application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE

created, caused to be created, and caused to be submitted to Park

Avenue false and fraudulent tax returns and Forms W-2.           In further

support of the loan application, defendants GIUSEPPE GIUDICE and

TERESA GIUDICE caused documents to be sent via the U.S. Mail or

private or commercial interstate carrier to Park Avenue and other

entities and individuals involved with the closing of the loan.

Based on the application and false and fraudulent supporting

documentation, on or about January 30, 2006, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE received a construction loan from Park

Avenue in the approximate amount of $800,000.

           F.   In or about December 2006, defendant GIUSEPPE GIUDICE
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applied for a loan from Wachovia.        In support of the loan

application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE created,

caused to be created, and caused to be submitted to Wachovia a false

and fraudulent tax return.      In further support of the loan

application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE caused

documents to be sent via the U.S. Mail or private or commercial

interstate carrier to Wachovia and other entities and individuals

involved with the loan.     Based on the application and false and

fraudulent supporting documentation, on or about December 11, 2006,

Wachovia approved a home equity line of credit to defendant GIUSEPPE

GIUDICE,   from which he withdrew approximately $251,360 from in or

about December 2006 through in or about February 2009.

           G.   In or about February 2007, defendant GIUSEPPE GIUDICE

applied for a loan from Wachovia.        In support of the loan

application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE created,

caused to be created, and caused to be submitted to Wachovia false

and fraudulent tax returns and Forms W- 2.      In further support of the

loan application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE

caused documents to be sent via the U.S. Mail or private or commercial

interstate carrier to Wachovia and other entities and individuals

involved with the loan.     Based on the application and false and

fraudulent supporting documentation, on or about February 15, 2007,

Wachovia approved a home equity line of credit to defendant GIUSEPPE

GIUDICE, from which he withdrew approximately $170,252 in or about
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February 2007.

            H.   In or about February 2008, defendants GIUSEPPE GIUDICE

and TERESA GIUDICE caused to be prepared a loan application, which

they then caused to be submitted to Sterling.       In support of the loan

application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE created,

caused to be created, and caused to be submitted to Sterling false

and fraudulent Forms W-2.      In further support of the loan

application, defendants GIUSEPPE GIUDICE and TERESA GIUDICE caused

documents to be sent via the U.S. Mail or private or commercial

interstate carrier to Sterling and other entities and individuals

involved with the closing of the loan.      Based on the application and

false and fraudulent supporting documentation, on or about March 14,

2008, Sterling issued a construction loan to defendants GIUSEPPE

GIUDICE and TERESA GIUDICE in the approximate amount of $1,700,000,

which was funded by interstate wire transfer from outside New Jersey

to New Jersey.

            I.   In or about July 2008, defendants GIUSEPPE GIUDICE and

TERESA GIUDICE caused to be prepared a loan application, which they

then caused to be submitted to CBBC.       The loan application falsely

stated that defendants had a private bank account containing

$500,000.    In support of the loan application, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE created, caused to be created, and caused

to be submitted to CBBC false and fraudulent tax returns and Forms

W-2.   In further support of the loan application, defendants
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GIUSEPPE GIUDICE and TERESA GIUDICE caused documents to be sent via

the U.S. Mail or private or commercial interstate carrier to CBBC

and other entities and individuals involved with the closing of the

loan.    Based on the false and fraudulent loan application and

supporting documentation, on or about September 12, 2008, CBBC

approved a mortgage loan to defendants GIUSEPPE GIUDICE and TERESA

GIUDICE in the approximate amount of $1,720,000, which was disbursed

on or about September 19, 2008.

        In violation of Title 18, United States Code, Section 1349.




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                               COUNTS 2 - 7
                               (Bank Fraud)

       1.   Paragraphs 1 and 6D through 6I of Count 1 of this First

Superseding Indictment are hereby realleged and incorporated as if

set forth in full herein.

       2.   In or about the dates set forth below, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE did knowingly and intentionally execute

and attempt to execute a scheme and artifice to defraud financial

institutions, and to obtain money, funds, assets and other property

owned by, and under the custody and control of, financial

institutions, by means of materially false and fraudulent pretenses,

representations and promises, as described below:

 COUNT            DATE           FINANCIAL INSTITUTION           AMOUNT
   2        July 2005          WaMu                          $361,250
   3        November 2005 to   Park Avenue                   $800,000
            January 2006
   4        December 2006 to   Wachovia                      $251,360
            February 2009
   5        February 2007      Wachovia                      $170,252
   6        February 2008 to   Sterling                      $1,700,000
            March 2008
   7        July 2008 to       CBBC                          $1,720,000
            September 2008


       In violation of Title 18, United States Code, Section 1344 and

Section 2.




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                               COUNTS 8 - 13
                         (Loan Application Fraud)

        1.   Paragraphs 1 and 6D through 6I of Count 1 of this First

Superseding Indictment are hereby realleged and incorporated as if

set forth in full herein.

        2.   In or about the dates set forth below, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE did knowingly make false statements and

reports for the purpose of influencing the actions of the Financial

Institution Lenders upon their loan applications as follows:

 COUNT            DATE        FINANCIAL INSTITUTION    FALSE INFORMATION
   8         July 2005        WaMu                     Employment and
                                                       Income
   9         November 2005    Park Avenue              Tax Returns;
                                                       Forms W-2
   10        December 2006    Wachovia                 Tax Return
   11        February 2007    Wachovia                 Tax Returns;
                                                       Forms W-2
   12        February 2008    Sterling                 Forms W-2
             to March 2008
   13        July 2008 to     CBBC                     Assets;
             September 2008                            Tax returns;
                                                       Forms W-2


        In violation of Title 18, United States Code, Section 1014 and

Section 2.




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                                 COUNT 14
                            (Bankruptcy Fraud)

     1.   Paragraph 1 of Count 1 of this First Superseding Indictment

is hereby realleged and incorporated as if set forth in full herein.

                       A. The Bankruptcy Process

     2.   A voluntary bankruptcy case is begun by the filing of a

bankruptcy petition, and the person who files that petition is a

"debtor" under federal bankruptcy law.        The process is conducted in

a federal court and is governed by the United States Bankruptcy Code,

which is found in Title 11 of the United States Code.

     3.   Upon the filing of a bankruptcy petition, a debtor is

required by law to fully disclose his or her financial circumstances,

including, among other things, assets,        liabilities, income from

prior years, and any anticipated increase in income.        Assets include

real, personal, tangible and intangible property, whether or not the

asset is held in the debtor's name or held in the name of another

person or entity on behalf of the debtor.        A bankruptcy "estate" is

created upon the filing of a bankruptcy petition, which is a

collective reference to all legal or equitable interests of the

debtor in property at the time of the bankruptcy filing.         The estate

includes all property in which the debtor has an interest, even if

it is owned or held by another person.

     4.   The financial circumstances of the debtor are disclosed to

the bankruptcy court by the debtor in a series of bankruptcy forms


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called the "Schedules of Assets and Liabilities," and on a separate

bankruptcy form called a "Statement of Financial Affairs."             These

forms are signed by the debtor under penalty of perjury.

     5.   If a bankruptcy trustee is assigned to the bankruptcy case,

he or she is responsible for the administration of the debtor's

bankruptcy estate, including the identification and liquidation of

assets and the distribution of proceeds to creditors.           All debtors

are required to attend a Section 341 Meeting of Creditors, at which

the debtor is placed under oath by the bankruptcy trustee and

questioned about his or her financial affairs, including, but not

limited to, the bankruptcy petition, the Schedules of Assets and

Liabilities, and the Statement of Financial Affairs.

     6.   If necessary, other types of proceedings may be held in

relation to bankruptcy cases, such as Rule 2004 examinations, at

which the debtor is placed under oath by the bankruptcy trustee and

questioned about his or her financial affairs.

     7.   Bankruptcy provides debtors with an opportunity to obtain

a fresh financial start through the discharges of their debts.                A

discharge depends upon the debtor's disclosure of a true and accurate

picture of his or her financial affairs.

                             B. Introduction

     8.   At all times relevant to Count 14 of this First Superseding

Indictment:

           A.   On or about October 29, 2009, defendants GIUSEPPE
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GIUDICE and TERESA GIUDICE filed and caused the filing of a voluntary

petition for relief under Chapter 7 of the Bankruptcy Code in the

United States Bankruptcy Court for the District of New Jersey,                in

the proceeding entitled In re: Teresa and Giuseppe Giudice, Case No.

09-39032 (the "Bankruptcy Petition").

           B.   On October 29, 2009, defendants GIUSEPPE GIUDICE and

TERESA GIUDICE filed and caused the filing of documents relating to

their Bankruptcy Petition, including a Statement of Financial

Affairs and Schedules of Assets and Liabilities.           The defendants

signed these documents under penalty of perjury.

           C.   On or about December 17, 2009, January 8, 2010, and

March 2, 2010, defendants GIUSEPPE GIUDICE and TERESA GIUDICE filed

and caused the filing of amended documents relating to their

Bankruptcy Petition, including amended Statements of Financial

Affairs and Schedules of Assets and Liabilities.           The defendants

signed these documents under penalty of perjury.

           D.   On or about December 23, 2009, April 23, 2010, April

30, 2010, and December 15, 2010, defendant GIUSEPPE GIUDICE testified

under oath in connection with the bankruptcy proceedings.             On or

about December 23, 2009, April 23, 2010, and June 29, 2011, defendant

TERESA GIUDICE testified under oath in connection with the bankruptcy

proceedings.

           E.   On or about August 26, 2011, defendant GIUSEPPE

GIUDICE and the United States Trustee filed a consent order in the
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United States Bankruptcy Court for the District of New Jersey in which

the parties agreed that defendant GIUSEPPE GIUDICE would be denied

a bankruptcy discharge.            On or about September 61 2011                  1    a Judge of

the United States Bankruptcy Court for the District of New Jersey

approved the consent order.

           F.   On or about December 7          1   2011 defendant TERESA GIUDICE
                                                           1




and the United States Trustee filed a consent order in the United

States Bankruptcy Court for the District of New Jersey in which the

parties agreed that defendant TERESA GIUDICE would be denied a

bankruptcy discharge.            On or about December 15       1   2011   1   a Judge of the

United States Bankruptcy Court for the District of New Jersey

approved the consent order.

           G.   TG Fabalicious Limited Liability Company d/b/a TG

Fabulicious LLC ("TG Fabulicious") was a limited liability company

existing under the laws of the State of New Jersey that was formed

on or about April 20       1    2009.   Defendant TERESA GIUDICE was the sole

member/manager of TG Fabulicious.

           H.   On or about May 18         1    2009   1   defendant TERESA GIUDICE

registered the website domain name tgfabulicious.com                          1       and soon

thereafter began selling fashion merchandise on this website.

Proceeds from the sales were deposited into a business bank account

that defendant TERESA GIUDICE had established at a bank in New Jersey

on or about April 21   1       2009 (the "TG Fabulicious Bank Account").                         The

TG Fabulicious Bank Account was closed in or about March 2011.
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              I.   On or about August 12, 2009, defendant TERESA GIUDICE

filed a trademark application with the United States Patent and

Trademark Office for the mark "Fabulicious."

              J.   Name Brand Clothing Limited Liability Company ("Name

Brand") was a limited liability company existing under the laws of

the State of New Jersey that was formed on or about February 12, 2009.

Defendant GIUSEPPE GIUDICE was the sole member /manager of Name Brand.

From in or about February 2009 through in or about July 2009, Name

Brand had a business bank account in New Jersey (the "Name Brand Bank

Account")

              K.   1601 Maple Avenue, LLC ("1601 Maple Avenue") was a

limited liability company existing under the laws of the State of

New Jersey that was formed in or about August 2008.           Defendant

GIUSEPPE GIUDICE was the sole member/manager of 1601 Maple Avenue.

1601 Maple Avenue collected rent from tenants at a gas station located

at 1601 Maple Avenue in Hillside, New Jersey.          From in or about

January 2009 through in or about December 2009, 1601 Maple Avenue

had a business bank account in New Jersey ("1601 Maple Avenue Bank

Account") .

              L.   Turo Fuel Corporation d/b/a Turbo Fuel Corporation

("Turbo Fuel") was a Domestic Profit Corporation existing under the

laws of the State of New Jersey that was formed in or about December

2008.   Defendant GIUSEPPE GIUDICE was the sole member/manager of

Turbo Fuel.        From in or about January 2009 through in or about
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December 2009, Turbo Fuel had a business bank account in New Jersey

(the "Turbo Fuel Bank Account").

           M.   In or about July 2005, defendant TERESA GIUDICE

purchased a residential property in Lincoln Park, New Jersey (the

"Rental Property").     On or about April 1, 2009, defendant GIUSEPPE

GIUDICE entered into a lease with a tenant to rent the Rental Property

on a monthly basis (the "Rental Property Lease").          From in or about

April 1, 2009 through in or about January 2012, defendants GIUSEPPE

GIUDICE and TERESA GIUDICE received approximately $42,968 in rental

income under the terms of the Rental Property Lease (the "Rental

Property Income").

           N.   From in or about June 2008 through the filing of the

Bankruptcy Petition, defendant TERESA GIUDICE received income of

approximately $110,677 from various sources, including her work as

an actress on the television show "The Real Housewives of New Jersey"

(the "Television Show"), sales from the tgfabulicious.com website,

and payments from personal and magazine appearances.

           0.   On or about June 5, 2009 and August 27, 2009,

defendants GIUSEPPE GIUDICE and TERESA GIUDICE signed agreements in

connection with then-upcoming Season Two of the Television Show

whereby they would receive approximately $110,000 in compensation.

                        B. The Scheme to Defraud

     9.   Beginning on or about October 29, 2009, and continuing

through at least on or about December 15, 2011, in the District of
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New Jersey, defendants GIUSEPPE GIUDICE, a/k/a "Joe Giudice," and

TERESA GIUDICE devised a scheme and artifice to defraud by means of

materially false and fraudulent pretenses and representations as

part of a bankruptcy proceeding.

            C. Manner and Means of the Scheme to Defraud

     10.    It was part of the scheme and artifice to defraud that the

defendants filed and caused to be filed false and fraudulent

Statements of Financial Affairs and Bankruptcy Schedules, which they

signed and caused to be signed as true and correct, under penalty

of perjury, in which the defendants intentionally omitted and

concealed material facts, and provided false and misleading

information.

     11.    It was further part of the scheme and artifice to defraud

that the defendants did intentionally conceal and fail to disclose

to the United States Trustee all of the bankruptcy estate, including

but not limited to business ownership interests, bank accounts,

rental property income, other income, and anticipated increases in

income.    For example, defendants never disclosed the TG Fabulicious

business, the TG Fabulicious Bank Account, the TG Fabulicious

intellectual property, the Name Brand business, the Name Brand Bank

Account, the 1601 Maple Avenue business, the 1601 Maple Avenue Bank

Account, the Turbo Fuel business, the Turbo Fuel Bank Account, the

Rental Property Lease, the Rental Property Income, Teresa Giudice's

true income, and their anticipated increase in income.
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     12.   It was further part of the scheme and artifice to defraud

that the defendants testified under oath at bankruptcy hearings that

their bankruptcy filings were complete and accurate and that all of

the bankruptcy estate was disclosed, when in fact defendants knew

these statements to be false.

     13.   It was further part of the scheme and artifice to defraud

that the defendants concealed property belonging to the bankruptcy

estate while testifying under oath at bankruptcy hearings.

     14.   From on or about October 29, 2009 through at least on or

about December 15, 2011, in the District of New Jersey, defendants

                           GIUSEPPE GIUDICE,
                        a/k/a "Joe Giudice," and
                             TERESA GIUDICE,

having devised and intending to devise a scheme and artifice to

defraud, and for the purpose of executing and concealing such scheme

and artifice, made materially false and fraudulent representations

as part of a bankruptcy proceeding under Title 11.

     In violation of Title 18, United States Code, Section 157(3)

and Section 2.




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                                  COUNTS 15-20
                        (Bankruptcy Fraud - Concealment)

         1.     Paragraph 1 of Count 1 and Paragraph 8 of Count 14 of this

  First Superseding Indictment are hereby realleged and incorporated

  as if set forth in full herein.

         2.     On or about the dates set forth below, the defendants set

  forth below did knowingly and fraudulently conceal from a custodian,

  trustee, marshal, and other officer of the court charged with the

  control and custody of property, and, in connection with a case under

  Title 11, from creditors and the United States Trustee, the following

  property belonging to the estate of a debtor:

COUNT         DEFENDANT(S}       DATE         PROPERTY CONCEALED        MANNER OF
                                                                       CONCEALMENT
 15     GIUSEPPE GIUDICE      10/29/09    TG Fabulicious             Not disclosed
        TERESA GIUDICE                    business; TG               in 10/29/09
                                          Fabulicious Bank           bankruptcy
                                          Account; Fabulicious       filings
                                          intellectual
                                          property; Name Brand
                                          business; Name Brand
                                          Bank Account; 1601
                                          Maple Avenue business;
                                          1601 Maple Avenue Bank
                                          Account; Turbo Fuel
                                          business; Turbo Fuel
                                          Bank Account; Rental
                                          Property Lease; Rental
                                          Property Income;
                                          Teresa Giudice's true
                                          income; anticipated
                                          increase in income




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    16     GIUSEPPE GIUDICE      12/15/09    TG Fabulicious         Not disclosed
           TERESA GIUDICE                    business; TG           in 12/17/09
                                             Fabulicious Bank       bankruptcy
                                             Account; Fabulicious   filings
                                             intellectual
                                             property; Name Brand
                                             business; Name Brand
                                             Bank Account; 1601
                                             Maple Avenue business;
                                             1601 Maple Avenue Bank
                                             Account; Turbo Fuel
                                             business; Turbo Fuel
                                             Bank Account; Rental
                                             Property Lease; Rental
                                             Property Income;
                                             Teresa Giudice's true
                                             income; anticipated
                                             increase in income
    17      TERESA GIUDICE       12/23/09    Rental Property Lease;     Not disclosed
                                             Rental Property            at her 12/23/09
                                             Income; Teresa             Rule 2004
                                             Giudice's true income      examination
    18     GIUSEPPE GIUDICE      1/8/10      TG Fabulicious             Not disclosed
           TERESA GIUDICE                    business; TG               in 1/8/10
                                             Fabulicious Bank           bankruptcy
                                             Account; Fabulicious       filings
                                             intellectual
                                             property; Name Brand
                                             business; Name Brand
                                             Bank Account; 1601
                                             Maple Avenue business;
                                             1601 Maple Avenue Bank
                                             Account; Turbo Fuel
                                             business; Turbo Fuel
                                             Bank Account; Rental
                                             Property Lease; Rental
                                             Property Income;
                                             Teresa Giudice's true
                                             income; anticipated
                                             increase in income




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19     GIUSEPPE GIUDICE      3/2/10      TG Fabulicious             Not disclosed
       TERESA GIUDICE                    business; TG               in 3/2/10
                                         Fabulicious Bank           bankruptcy
                                         Account; Name Brand        filings
                                         business; Name Brand
                                         Bank Account; 1601
                                         Maple Avenue business;
                                         1601 Maple Avenue Bank
                                         Account; Turbo Fuel
                                         business; Turbo Fuel
                                         Bank Account; Rental
                                         Property Income;
                                         Teresa Giudice's true
                                         income
20     TERESA GIUDICE        6/29/11     Rental Property Lease;     Not disclosed
                                         Rental Property            at her 6/29/11
                                         Income; Teresa             adversary
                                         Giudice's true income      proceeding


        In violation of Title 18, United States Code, Sections 152(1)

and 2.




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                                 COUNTS 21-26
                       (Bankruptcy Fraud - False Oaths)

         1.   Paragraph 1 of Count 1 and Paragraph 8 of Count 14 of this

  First Superseding Indictment are hereby realleged and incorporated

  as if set forth in full herein.

         2.   On or about the dates set forth below, the defendants set

  forth below did knowingly and fraudulently make a false oath and

  account in and in relation to a case under Title 11 of the United

  States Code as follows:

COUNT      DEFENDANT(S}         DATE      PROCEEDING           FALSE OATH(S}
 21     GIUSEPPE GIUDICE     12/23/09    Rule 341       All the information in
        TERESA GIUDICE                   Hearing        the bankruptcy filings
                                                        was true and correct
 22     GIUSEPPE GIUDICE     4/23/10     Rule 2004   He never used unf i led tax
                                         Examination returns to obtain
                                                     financing on any
                                                     properties
 23     TERESA GIUDICE       4/23/10     Rule 2004   The Rental Property was
                                         Examination never rented out; there
                                                     was never a tenant in the
                                                     Rental Property;
                                                     information about her
                                                     income; TG Fabulicious
                                                     created after the
                                                     bankruptcy case began
 24     GIUSEPPE GIUDICE     4/30/10     Rule 2004   He did not receive full
                                         Examination rental payments each
                                                     month on the Rental
                                                     Property; business
                                                     partner gave him
                                                     permission to discharge
                                                     mortgage
 25     GIUSEPPE GIUDICE     12/15/10    Adversary      Business partner gave him
                                         Proceeding     permission to discharge
                                                        mortgage

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26     TERESA GIUDICE       6/29/11     Adversary      Her only source of income
                                        Proceeding     at time of bankruptcy
                                                       filing was from
                                                       Television Show; she did
                                                       not own any business
                                                       interests or companies;
                                                       TG Fabulicious website
                                                       was not generating any
                                                       income; Rental Property
                                                       and income from Rental
                                                       Property


        In violation of Title 18, United States Code, Sections 152(2}

and 2.




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                                 COUNTS 27-36
                    (Bankruptcy Fraud - False Declarations)

        1.    Paragraph 1 of Count 1 and Paragraph 8 of Count 14 of this

 First Superseding Indictment are hereby realleged and incorporated

 as if set forth in full herein.

        2.    On or about the dates set forth below, defendants GIUSEPPE

 GIUDICE and TERESA GIUDICE did knowingly and fraudulently make

 material false declarations, certificates and verifications under

 the penalty of perjury, as permitted under Section 1746 of Title 28,

 in and in relation to a case under Title 11, as follows:

COUNT        DATE            DOCUMENT                FALSE DECLARATION
 27     10/29/09      Bankruptcy Petition      The information provided in
                                               the Petition is true and
                                               correct
 28     10/29/09      Declaration Concerning The summary of schedules and
                      Debtor's Schedules     schedules are true and
                                             correct
 29     10/29/09      Statement of Financial The answers and attachments
                      Affairs                to the Statement of Financial
                                             Affairs are true and correct
 30     10/29/09      Statement of Current   The information provided in
                      Monthly Income and     the Statement of Current
                      Means-Test Calculation Monthly Income and Means -Test
                                             Calculation is true and
                                             correct
 31     12/15/09      Declaration Concerning The summary of schedules and
                      Debtor's Schedules     schedules are true and
                                             correct
 32     12/15/09      Statement of Financial The answers and attachments
                      Affairs                to the Statement of Financial
                                             Affairs are true and correct




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33       12/15/09    Statement of Current   The information provided in
                     Monthly Income and     the Statement of Current
                     Means-Test Calculation Monthly Income and Means -Test
                                            Calculation is true and
                                            correct
34       1/8/10      Statement of Financial The answers and attachments
                     Affairs                to the Statement of Financial
                                            Affairs are true and correct
35       3/2/10      Declaration Concerning The summary of schedules and
                     Debtor's Schedules     schedules are true and
                                            correct
36       3/2/10      Statement of Financial The answers and attachments
                     Affairs                to the Statement of Financial
                                            Affairs are true and correct


        In violation of Title 18, United States Code, Sections 152(3)

and 2.




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                                COUNT 37
                      (Failure to Make Tax Return)

     1.    Paragraph 1 of Count 1 of this First Superseding Indictment

is hereby realleged and incorporated as if set forth in full herein.

     2.    During the calendar year 2004, GIUSEPPE GIUDICE had and

received gross income of approximately $243,919.

     3.    Having received this income, GIUSEPPE GIUDICE was required

by law, following the close of calendar year 2004, and on or before

April 15, 2005, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any

deductions and credits to which he was entitled.

     4.    On or about April 15, 2005, in the District of New Jersey,

and elsewhere, defendant

                           GIUSEPPE GIUDICE,
                          a/k/a "Joe Giudice,"

knowing and believing the foregoing facts, did knowingly and

willfully fail to make an income tax return to the Internal Revenue

Service.

     In violation of Title 26, United States Code, Section 7203 and

Title 18, United States Code, Section 2.




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                                COUNT 38
                      (Failure to Make Tax Return)

     1.    Paragraph 1 of Count 1 of this First Superseding Indictment

is hereby realleged and incorporated as if set forth in full herein.

     2.    During the calendar year 2005, GIUSEPPE GIUDICE had and

received gross income of approximately $323,481.

     3.    Having received this income, GIUSEPPE GIUDICE was required

by law, following the close of calendar year 2005, and on or before

April 17, 2006, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any

deductions and credits to which he was entitled.

     4.    On or about April 17, 2006, in the District of New Jersey,

and elsewhere, defendant

                           GIUSEPPE GIUDICE,
                          a/k/a "Joe Giudice,n

knowing and believing the foregoing facts, did knowingly and

willfully fail to make an income tax return to the Internal Revenue

Service.

     In violation of Title 26, United States Code, Section 7203 and

Title 18, United States Code, Section 2.




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                                COUNT 39
                      (Failure to Make Tax Return)

     1.    Paragraph 1 of Count 1 of this First Superseding Indictment

is hereby realleged and incorporated as if set forth in full herein.

     2.    During the calendar year 2006, GIUSEPPE GIUDICE had and

received gross income of approximately $26,194.

     3.    Having received this income, GIUSEPPE GIUDICE was required

by law, following the close of calendar year 2006, and on or before

April 17, 2007, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any

deductions and credits to which he was entitled.

     4.    On or about April 17, 2007, in the District of New Jersey,

and elsewhere, defendant

                           GIUSEPPE GIUDICE,
                          a/k/a "Joe Giudice,"

knowing and believing the foregoing facts, did knowingly and

willfully fail to make an income tax return to the Internal Revenue

Service.

     In violation of Title 26, United States Code, Section 7203 and

Title 18, United States Code, Section 2.




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                                COUNT 40
                      (Failure to Make Tax Return)

     1.    Paragraph 1 of Count 1 of this First Superseding Indictment

is hereby realleged and incorporated as if set forth in full herein.

     2.    During the calendar year 2007, GIUSEPPE GIUDICE had and

received gross income of approximately $377,423.

     3.    Having received this income, GIUSEPPE GIUDICE was required

by law, following the close of calendar year 2007, and on or before

April 15, 2008, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any

deductions and credits to which he was entitled.

     4.    On or about April 15, 2008, in the District of New Jersey,

and elsewhere, defendant

                           GIUSEPPE GIUDICE,
                          a/k/a "Joe Giudice,"

knowing and believing the foregoing facts, did knowingly and

willfully fail to make an income tax return to the Internal Revenue

Service.

     In violation of Title 26, United States Code, Section 7203 and

Title 18, United States Code, Section 2.




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                                COUNT 41
                      (Failure to Make Tax Return)

     1.    Paragraph 1 of Count 1 of this First Superseding Indictment

is hereby realleged and incorporated as if set forth in full herein.

     2.    During the calendar year 2008, GIUSEPPE GIUDICE had and

received gross income of approximately $25,442.

     3.    Having received this income, GIUSEPPE GIUDICE was required

by law, following the close of calendar year 2008, and on or before

April 15, 2009, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any

deductions and credits to which he was entitled.

     4.    On or about April 15, 2009, in the District of New Jersey,

and elsewhere, defendant

                           GIUSEPPE GIUDICE,
                          a/k/a "Joe Giudice,"

knowing and believing the foregoing facts, did knowingly and

willfully fail to make an income tax return to the Internal Revenue

Service.

     In violation of Title 26, United States Code, Section 7203 and

Title 18, United States Code, Section 2.




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                         FORFEITURE ALLEGATION

     1.   The allegations contained in this First Superseding

Indictment are hereby realleged and incorporated by reference for

the purpose of noticing forfeiture pursuant to Title 18, United

States Code, Sections 981 (a) (1) (c) and 982 (a) (2) (A), and Title 28,

United States Code, Section 246l(c).

     2.   The United States hereby gives notice to the defendants that

upon their convictions of the offenses charged in Counts One through

Thirteen, and Fifteen through Thirty-Six, of this First Superseding

Indictment, the government will seek forfeiture in accordance with

Title 18, United States Code, Sections 981 (a) (1) (c) and 982 (a) (2) (A)

and Title 28, United States Code, Section 2461(c), which requires

any person convicted of such offenses to forfeit any property

constituting or derived from proceeds obtained directly or

indirectly as a result of such offenses.

     3.    If any of the above-described forfeitable property, as a

result of any act or omission of the defendants:

                  (a) cannot be located upon the exercise of due

     diligencei

                  (b) has been transferred or sold to, or deposited

     with, a third partyi

                  (c) has been placed beyond the jurisdiction of the

     courti



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                 (d) has been substantially diminished in value; or

                 (e) has been commingled with other property which

     cannot be divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United

States Code, Section 2461(c) and Title 18, United States Code,

Section 982(b) (1), to seek forfeiture of any other property of such

defendants up to the value of the forfeitable property described in

paragraph 2.



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PAUL J. FJtSHMAN
United States Attorney




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                       CASE NUMBER:     (j· L(q S (E   SJ
                     United States District Court
                        District of New Jersey

                        UNITED STATES OF AMERICA

                                       v.

                           GIUSEPPE GIUDICE,
                        a/k/a "Joe Giudice," and
                             Teresa Giudice

                   FIRST SUPERSEDING INDICTMENT FOR
                          18 u.s.c. § 152(1)
                          18 u.s.c. § 152(2)
                          18 u.s.c. § 153 ( 3)
                          18 u.s.c. § 157(3)
                          18 u.s.c. § 1014
                          18 u.s.c. § 1341
                          18 u.s.c. § 1343
                          18 u.s. c. § 1344
                          18 u.s.c. § 1349
                          26 u.s.c. § 7203

                               A True Bill,




                               PAUL J. FISHMAN
                                U. S. ATTORNEY
                             NEWARK,   NEW JERSEY


                            JONATHAN W. ROMANKOW
                          ASSISTANT U. S. ATTORNEY
                               973-645-2884

                                USA-48AD 8
                                (Ed. 1/97)
